                Case 24-10140-JTD             Doc 194       Filed 05/19/24        Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                    Chapter 11

BYJU’s ALPHA, INC.,1                                      Case No. 24-10140 (JTD)

                  Debtor.


BYJU’s ALPHA, INC.,

                  Plaintiff,
                                                          Adv. Pro. Case No. 24-50013 (JTD)
          v.

CAMSHAFT CAPITAL FUND, LP,
CAMSHAFT CAPITAL ADVISORS, LLC,
CAMSHAFT CAPITAL MANAGEMENT,
LLC, RIJU RAVINDRAN, and
INSPILEARN LLC,

                  Defendants.


                       RIJU RAVINDRAN’S WITNESS LIST FOR
                   HEARING ON MAY 21, 2024, AT 10:00 AM. (EASTERN)

         Defendant Riju Ravindran (“Ravindran”) hereby files his Witness List for Hearing

scheduled for May 21, 2024, at 10:00 a.m. (Eastern Time) (the “Hearing”) as follows:

                                                WITNESSES

         Ravindran designates the following individuals who may be called as a witness:

                 a. Riju Ravindran (appearing alone via Zoom from his home office in Dubai,

                     United Arab Emirates, as permitted by the Court). As set forth in the Debtor’s

                     Notice of Agenda, Ravindran will be proffering the following declarations as

                     his direct testimony: (i) Declaration of Riju Ravindran, dated March 21, 2024

1
    The Debtor in this Chapter 11 case, along with the last four digits of the Debtor’s federal tax identification
    number, is: BYJU’s Alpha, Inc. (4260). The location of the Debtor’s service address for purposes of this
    Chapter 11 case is: 1007 N. Market Street Ste. G20 452, Wilmington, Delaware 19801.
               Case 24-10140-JTD         Doc 194      Filed 05/19/24     Page 2 of 3




                   [A.D.I. 91]; (ii) Supplemental Declaration of Riju Ravindran, dated April 8, 2024

                   [A.D.I. 121]; (iii) Declaration of Riju Ravindran with Exhibits A through F, dated

                   May 9, 2024 [A.D.I. 183]; and (iv) Exhibits to Objection of Riju Ravindran to

                   Debtor’s Motion for a Ruling to Show Cause Why Riju Ravindran Should Not

                   Be Held in Contempt for Violating the Preliminary Injunction Order , dated

                   May 14, 2024 [A.D.I. 187]. Mr. Ravindran will have copies of the declarations

                   with him for ease of reference, should such a reference become necessary.

                   The Debtor and GLAS Trust Company, LLC may seek to cross-examine Mr.

                   Ravindran.

               b. Any witness listed by any other party;

               c. Rebuttal witnesses as necessary; and

               d. Ravindran reserves the right to cross-examine any witness called by any other
                  party.

                                 RESERVATION OF RIGHTS

       Ravindran reserves the right to call or to introduce one or more, or none, of the witnesses

listed above, and further reserves the right to supplement this list prior to the Hearing.




                                             -2-
                  Case 24-10140-JTD   Doc 194    Filed 05/19/24   Page 3 of 3




Dated: May 19, 2024                             CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware
                                                 /s/ Joseph B. Cicero
                                                William E. Chipman, Jr. (#3818)
                                                Joseph B. Cicero (#4388)
                                                Ryan M. Lindsay (#6435)
                                                Hercules Plaza
                                                1313 North Market Street, Suite 5400
                                                Wilmington, Delaware 19801
                                                (302) 295-0191

                                                -and-

                                                KASOWITZ BENSON TORRES LLP
                                                Sheron Korpus
                                                David M. Max
                                                Kenneth Coleman
                                                1633 Broadway
                                                New York, New York 10019
                                                (212) 506-1700

                                                Attorneys for Riju Ravindran


4893-8399-1488, v. 1




                                        -3-
